           Case 6:20-cv-06212-LJV-MJR Document 5 Filed 05/12/20 Page 1 of 4



                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF NEW YORK

           DEBORAH LAUFER,
               Plaintiff

                      v.                            Case No. 6:20-cv-6212

           PGA SEQUOIA, LLC,
               Defendant.


MOTION BY: Plaintiff
RELIEF REQUESTED: An Order striking Defendant’s Answer
BASIS FOR RELIEF REQUESTED: Federal Rule of Civil Procedure 12(f)2.
SUPPORTING PAPERS: Memorandum of Law in Support of Motion to Strike
PLACE: United States District Court Western District of New York 2330 United States
Courthouse 100 State Street Rochester, New York 14614
DATE AND TIME: To be determined by the Court
Dated: May 12, 2020


By: /s/ Tristan W. Gillespie
Tristan W. Gillespie, Esq.


THOMAS B. BACON, P.A.
5150 Cottage Farm Rd.
Johns Creek, GA 30022
Tel: 404.276.7277
gillespie.tristan@gmail.com
Attorneys for Plaintiff
           Case 6:20-cv-06212-LJV-MJR Document 5 Filed 05/12/20 Page 2 of 4



    MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS' MOTION TO
                          STRIKE



PRELIMINARY STATEMENT
Plaintiff moves pursuant to Fed. R. Civ. P. 12(f)2 to strike Defendant's Answer to Plaintiff’s
Complaint. Defendant has failed to satisfy the standard for pleading an appropriate Answer.
Likewise, Defendant’s Answer is invalid as a corporation must be represented by counsel.
To allow Defendant’s Answer to remain in the litigation will cause undue prejudice to
Plaintiff, as she will need to conduct discovery or utilize trial time to eliminate the improper
and baseless response to Plaintiff’s Complaint. Accordingly, for the foregoing reasons,
Plaintiff respectfully requests the entry of an Order striking Defendant's Answer.
FACTS
Deborah Laufer filed this action on April 6, 2020 for Defendant’s violations of the
Americans with Disabilities Act. On May 11, 2020, a person named Yannick
Basabakwinshi, who is not a licensed attorney, filed an Answer to the Complaint. As
corporations must be represented by counsel, Defendant’s Answer must be stricken.


ARGUMENT
I. DEFENDANT'S ANSWER SHOULD BE STRICKEN.
Defendant PGA Sequoia, LLC’s Answer (doc. 4) was filed by a non-attorney named
Yannick Basabakwinshi and is not responsive to Plaintiff’s Complaint. Rather, Defendant’s
Answer merely states:
             Our facility is nondiscriminatory based on religion, race, color, or
             physical disability; and this based [sic] on current or past practices.
             We are willing to accommodate the plaintiff should she consider
             a stay with us sooner or later.
             We can confirm that we have worked with different institutions
             and persons in the past to ensure that no person with disability is
             excluded from our facility.
The threshold problem with this filing is that it was not submitted by an attorney, and no
lawyer appears to be representing Defendant in this matter. This arrangement is
unsatisfactory because, under clearly established law, a corporation or other artificial entity
cannot appear in federal court unless it is represented by counsel. See, e.g., Rowland v.
California Men's Colony, Unit II Men's Advisory Council, 506 U.S. 194, 201-02, 113 S.Ct.
           Case 6:20-cv-06212-LJV-MJR Document 5 Filed 05/12/20 Page 3 of 4



716, 121 L.Ed.2d 656 (1993) ("It has been the law for the better part of two centuries ... that
a corporation may appear in the federal courts only through licensed counsel."); Palazzo v.
Gulf Oil Corp., 764 F.2d 1381, 1385 (1985) ("The rule is well established that a corporation
is an artificial entity that ... cannot appear pro se, and must be represented by counsel.");
United States v. Hagerman, 545 F.3d 579, 581 (2008) ("A corporation is not permitted to
litigate in federal court unless it is represented by a lawyer licensed to practice in that
court."); Udoinyion v. The Guardian Security, 440 Fed. Appx. 731 (2011) ("A corporation
is an artificial entity that cannot appear pro se and must be represented by counsel.").
Simply put, Defendant cannot represent itself pro se in this proceeding, nor can its corporate
officers, owners, managers, members, or employees file papers in this case on behalf of that
entity unless they are licensed attorneys. For this reason, Defendant must retain counsel in
order to be heard or to defend against this action.
Additionally, the format of Defendant’s filing is incorrect. Any document that Defendant
wishes to file with the Clerk of Court must include the caption of the case (i.e., the court,
parties' names, and case number, in substantially the form shown at the top of this Order);
must include the signer's address and telephone number; and must include a certificate of
service showing that the filing or paper has been served on all other parties. See Rules 5(d),
10 & 11, FRCP.
A motion to strike is properly granted where (1) there is no question of fact which would
allow the defense to succeed; (2) there is no question of law which would allow the defense
to succeed; and (3) the plaintiff would suffer prejudice from inclusion of the defense.
Saratoga Harness Racing Inc., 1997 WL 135946 at 3. Increased time and expense of trial
may constitute sufficient prejudice to warrant granting a Plaintiff’s 12(f) motion. SEC v.
Toomey, 866 F. Supp. 719, 722 (S.D.N.Y. 1992). When "the defense is insufficient as a
matter of law, the defense should be stricken to eliminate the delay and unnecessary expense
from litigating the invalid claim." Id. citing FDIC v. Eckert Siemens Cherin & Mellot, 754
F. Supp. 22, 23 (E.D.N.Y. 1990). See also Simon v. Manufacturers Hanover Trust Co. 849
F.Supp. 880, 882 (S.D.N.Y. 1994) ("...motions to strike serve a useful purpose by
eliminating insufficient defenses and saving the time and expense which would otherwise
be spent in litigating issues that would not affect the outcome of the case") (internal citations
and quotations omitted).
Here, Defendant has not properly answered Plaintiff’s Complaint. Accordingly, it should be
stricken.


CONCLUSION
Accordingly, for the foregoing reasons, plaintiffs respectfully request the entry of an Order
striking Defendant's Answer.
Dated: May 12, 2020
           Case 6:20-cv-06212-LJV-MJR Document 5 Filed 05/12/20 Page 4 of 4




By: /s/ Tristan W. Gillespie
Tristan W. Gillespie, Esq.


THOMAS B. BACON, P.A.
5150 Cottage Farm Rd.
Johns Creek, GA 30022
Tel: 404.276.7277
gillespie.tristan@gmail.com
Attorneys for Plaintiff
